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                                           Uurpn Srarss Drsrruc, co,Tfl+Jc*,i;i ii ,il#$ffi
                                                                          for the
                                                       District ofNew Mexico
                                                                                                                            0cI 25 20
                  In the Matter of the Search of                                                            F1,{ITCF{fL!- R.                    RS
              (Brie/ly d.e;cnbe the property to be   searched                 )                                CLEf?K OF C
 *,!*yitffi{Kltrs!;i,ffi;i[{*ffi^rEDwrH                 i
                rszso2ra2riiii.#iEpr-o[E-ilii,iEdiliiro t
 rMEr3s2i302i4308er7. rMEr
 635-9530, martioez,michaell tOZqyaf,oo..orm
                                                                                         CaseNo.        2E -?lt*t ynK
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                         "riO
 fl,frTs%{ryHp,1T"JH}ff"*"-4",?RgtlEJ,,^",,.,*" i
       APPLICATION T'OR A WARRANT BY TELEPHONE
                                                                                  OR OTIIER RELIABLE ELECTRONIC MEANS
         .    I, a federal law enforcement oflicer or r

  x;:ili*N^#!::!iffiii:i,i:r"i:ffi "1i?itrr3il$,ffiffi n}ff s;&";,#jNffi:,ro,::::un!*
   SeeAttachmentA.
  located in the       *_ _"rygegl!_ _-- *_ District of              California or elsehwhere
  penon or describe the properlt to be sebed):                                                          , there is now concealed $dentify the

   See Aftachment B.


             The basis for the search under Fed. R. crim. p.
                                                                      4l(c) is @heck one or more)i
                   devidence of a crime;
                   dcontaband, fruits of crime, or other items illegally possessed;
                   t ptoperty designed for use, intended for use, or used in committing a crime;
                   o a person to be arrested or a person who is unlawfir,y restained.
             Tte search is related to a violation of:
               Code Section                                                           Olfense Desciption
        1! !{S.c-. SS.242, 250                       Deprivation of Rights Under Cotor v'L
                                                                             -= vv]vr  of Law
        13!:3:3:E;Slfl:ifii Ut.,:m::r:Htu-
             r ne appucatton is based on these facts:

        See Attachment C.

             d Continued on the attached sheet.
             O Delayed notice of         dlYs         oact ending date if more than i0 days:
                l8 U.S.C. g 3103a, the basis-of_lSt "                                                                   2 is requested under
                                                which i, s"t rirtUoi;;-#;hr#;*r.


                                                                                                    Applicant's signature

                                                                                    {rmi$ lltaria trllacmgnus, FBt SpeciatAgent
                                                                                                    Printed name and tltle
Attested to by the applicant in accordance with the
                                                               requirements of Fed. R. crim. p.4.1 by
 tglgph-q[1q                                                      gpecifi reliable electronic means).

Date: _O_qlp!gI_Z_5, .?!23

City and state: Las Cruces, New Mexico
                                                                          __* _     _ /errllI'I9r-g:9."Usgs!s!eir9g"
                                                                                                prlnted    name and title
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                                      ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with IMEI 352l302l430ggl7,IMEI

352130214215138, telephone number (575) 635-9530, martinez.michaell107@yahoo.com
                                                                                          and

mmartinez@villageofhatch.ore (the "ACCOUNTS') that is stored
                                                                   at premises owned,

maintained, controlled, or operated by Apple Inc., a company
                                                               headquartered at One Apple park

Way, Cupertino, Califomia.
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                                           ATTACHMENT B

                                    Particular Things to be Seized

  I.      Information to be disclosed by Apple Inc. ((Apple,,)

          To the extent that the information desoribed
                                                          in Attachment A is within the possession,

  custody, or control of Apple, regardless of whether
                                                          such information is located within or outside

  of the united states, and including any emails, records,
                                                              files, logs, or information that has been
  deleted but is still available to Apple, or has been preserved
                                                                   pursuant to the request made under

  18 U'S'C' $ 2703(0 on September22,2023,
                                                 Apple is requiredto disclose the following

 information to the government for each account
                                                    or identifier listed in Attachment A, for the time

 period of Aprit 2912023 to septemb er 2112023,
                                                        unless otherwise indicated:

         a'     All records or other information regarding the identification
                                                                                 of the account, to
 include full name, pJrysical address, telephone numbers,
                                                              email addresses (including primary,
 alternate, rescue, and notification email addresses,
                                                        and verification information for each email

 address), the date on which the account was created,
                                                          the length of service; the Ip address used to

register the account, account status, associated devices,
                                                             methods of connecting, and means and

source ofpayment (including any credit or bank
                                                   account numbers);

        b'      All records:or other information regarding the devices associated
                                                                                      with, or used in
connection with, the account (including all current
                                                        and past trusted or authorized ios devices

and computers, and any devices used to access
                                                 Apple services), including serial numbers, Unique

Device Identifiers ("UDID'), Advertising Identifiers ("IDFA'),
                                                                     Global Unique Identifiers
("GUID'), Media Aocess Contol ("MAC') addresses,
                                                           lntegrated Circuit Card ID numbers

("ICCID"), Electronic Serial Numbers ("ESN'),
                                                  Mobile Electronic Identity Numbers (,.MEIN,),
Mobile Equipment Identifiers (*MEID"), Mobile Identification
                                                                    Numbers (..MIN,), subscriber
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  Identif Modules ("sIM"), Mobile subscriber Integrated services Digital
                                                                                  Network Numbers
  ("MSISDN'), lntemational Mobile Subscriberldentities (*IMSI'),
                                                                         and International Mobile

  Station Equipment Identities (..IMEI,,);

         c'         The contents of all emails associated with the account,
                                                                              including stored or
 preserved copies of emails sent to and from the account (including
                                                                        all draft emails and deleted
 emails), the source and destination addresses associated with
                                                                  each email, the date and time at

 which each email was sent, the size and length of each email,
                                                                   and the true and accurate header

 information including the actual IP addresses of the sender
                                                                and the recipient of the emails, and

 all attachments;

        d'      The eontents of all instant messages associated with the account,
                                                                                       including stored
 or preserved copies of instant messages (including iMessages,
                                                                   SMS messages, and MMS

messages) sent to and from the account (including all draft
                                                               and deleted messages), the source and

destination account or phone number associated with each instant
                                                                      message, the date and time at

which each instant message was sent, the size and length of each
                                                                     instant message, the actual Ip

addresses of the sender and the recipient of each instant
                                                            message, and the media, if any, attached

to each instant message;

       e'      The contents of all files and other records stored on iCloud, including
                                                                                           all iOS
device backups, all Apple and third-party app data all files and
                                                                   other records related to iCloud

Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud
                                                                                    Drive, iWork
(including Pages, Numbers, Keynote, and Notes), iCloud Tabs and
                                                                       bookmarks, and iCloud

Keychain, and all address books, contact and buddy lists, notes, reminders,
                                                                                 calendar entries,

images, videos, voicemails, devioe settings, and bookmarks;
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              t'     All activity, connection, and transactional logs for the account (with
                                                                                              associated Ip

  addresses including source port numbers), including
                                                           FaceTime call invitation logs, messagrng

  and capability query logs (including iMessage, SMS,
                                                            and MMS messages), mail logs, iCloud

  logs, iTunes Store and App store logs (includingpurchases,
                                                                   downloads, and updates of Apple

 and third-party apps), My Apple ID and iForgot logs,
                                                            sign-on logs for all Apple services, Game

 center logs, Find My and AirTag logs, logs associated with
                                                                   web-based access of Apple services

 (including all associated identifiers), and logs associated
                                                               with ios device purchase, activation,
 and upgrades;

          g'       All records and information regarding locations where the account or
                                                                                              devioes
 associated with the account were accessed, including all
                                                               data stored in connection with AirTags,

 Location Services, Find My, and Apple Maps;

          h.       All records pertaining to the types of service used;

         i'        All records pertaining to communications between Apple and any person

regarding the account, including contacts with support services
                                                                     and records of actions taken; and

         j'        All files, keys, or other information necessary to decrypt any data produced
                                                                                                   in an
encrypted forrn, when available to Apple (including, but
                                                              not limited to, the keybag.txt and
fileinfolist.txt fi les),




Apple is hereby ordered to disclose the above information to the govemment
                                                                                   within fourteen
days of issuance ofthis warrant.
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   II.        Information to be seized by the government

              All information described above in section I that
                                                                  constitutes fruits, evidence, and
   instrumentalities of violations of 18 u.S.c.
                                                  $$ 242, 250, Deprivation of Rights under color of

  Law, and I8 u,s.c. $ rs12(b)(3), witness Tampering,
                                                               and rg u.s.c. g r512(c)(r), obstruction
  of Justice' those violations involving Michael
                                                      Andrew Martinez and occurring on and after
                                                                                                       April
  30'2023'including, for each account or identifier
                                                          listed on Attachment A, information pertaining

  to the following matters:

          a'        All records, images, communications, or information,
                                                                             howevermaintained,
 relating to sexual harassment, sexual assaurt,
                                                     rape, and bondage of women;

          b'        All records, images, csmmunications, or information,
                                                                              however maintained,
 reflecting the planning and execution of (l)
                                                 a sexual assault or other sexual misconduct,
                                                                                                 (2) the
 destruction of evidence relating to sexual
                                              assault or other sexual misconduct; and (3)
                                                                                             attempts to
 influence witnesses to not report or believe
                                                accounts ofsexual assault or other sexual

 misconducf

         c'        All records, images, communications, or information,
                                                                            however maintained,
reflecting the planning or execution of the
                                               deskuction of (1) a body wom camera
                                                                                         and the footage
contained therein and of (2) a dashboard
                                             vehicle camera and the footage contained therein;

         d'       All records, images, communications, or information,
                                                                           however maintained,
relating to acts of sexual assault or other sexual
                                                     misconduct committed by Michael Andrew

Martinez;

         e'       Any and all records of communications between
                                                                      Michael Andrew Marinez and
any individual arrested and detained by
                                           Martinez in his capaoity as a law enforcement
                                                                                             of6cer;
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          f'      Photographs or videos ofsexual assaults
                                                                or acts ofviolence perpehated against
   persons in custody and/or women
                                      who are restrained;

          a'      Evidence of activity from April 29,2023to
                                                                  Septemb er21,2023 thatevidences,

  indicates' or otherwise establishes that
                                             Michael Andrew Martinez sexually assaulted
                                                                                             victim and
  tampered with and obstructed justice in
                                               fi.rrtherance of the crimes he commiued.

          b'     Evidenee indicating how end when the
                                                             Apple iphone account was accessed or
  used' to determine the geographic and
                                          chronological context of account access,
                                                                                       use, and events
  relating to the crime under investigation
                                               and to the account subscriber;

         c'      Evidence indicating:the Apple iPhone account
                                                                    owner's state of mind as it relates
 to the crimes under investigation;

         d'      The identity of the person(s) who created
                                                               or used the user ID, including records
 that help reveal the whereabouts of such person(s).

        e'      The identity of the persons who communicated
                                                                    with the user ID about matters
 relating to the sexual assault of victim or
                                               other women, the tampering and destruction
                                                                                              of
 evidence, and obstruction ofjustice, includingrecords
                                                            that help reveal those persons
whereabouts.

        This warrant authorizes a review of electronically
                                                               stored information, communications,

other records, and information disclosed pursuant
                                                       to this warrant in order to locate evidence,

fruits' and instrumentalities described in this warrant.
                                                           The review of this electronic data may be

conducted by any government personnel assisting
                                                       in the investigation, who may include, in
addition to lawenforcement officers and agents,
                                                     attomeys for the govemment, attorney support

stafl and technical experts. Pursuant to this warrant, the FBI
                                                                  shall deliver a complete copy of
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the disclosed eleetronic data to the custody
                                               and control of attorneys for the govemment
                                                                                            and their
support stafffor their independent review.
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

   IN THE MATTER OF THE SEARCH OF
   INFORMATION ASSOCIATED WITH IMEI
  35213021430891 7, IMEI 352n}2t 42 I 5 1 38,
  TELEPHONE NUMBER (575) 63s-9530,                   Case No. 23-mj- I 430-DLM
  martinez.michael I I 07@),ahoo.com and
  mmartinez@villageofhatch. ore (the

  THAT IS STORED AT PREMISES
  CONTROLLED BY APPLE INC.


                                  AFFIDAVIT IN SUPPORT OF


        I' Armida Maria Macmanus, being first duly swom, hereby depose
                                                                               and state as follows:



        l'      I make this affidavit in support of an application for a search
                                                                                  warrant for
 information associated with certain accounts that are stored at premises
                                                                            owned, maintained,
controlled. or operated by Apple Inc. ("Apple"), an electronic
                                                                 communications service and/or

remote computing service provider headquartered at One
                                                            Apple park Way, Cupertino,
California' The information to be searched is described in the following paragraphs
                                                                                         and in
Attachment A' This affidavit is made in support of an application
                                                                     for a search warrant under lg
U'S'C' $$ 2703(a), 2703(bXlXA) and 2703(c)(l)(A) to require Apple
                                                                         to disclose to the
government copies of the information (including the
                                                      content of communications) further

described in Section I of Attachment B. upon receipt of the information
                                                                            described in Section I

of Attachment B, government-authorized persons will review that information
                                                                                   to locate the items
described in Section II of Attachment B.

       2'     I am a Special Agent with the Federal Bureau of Investigation (..FBI,,)
                                                                                          and have
been since November 2005. t am currently assigned as a
                                                           Special Agent for the Albuquerque
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  Division at the Las cruces Resident Agency in Las
                                                           cruces, New Mexico. I am classified,

  trained, and employed as a federal law enforcement
                                                           officer with stafutory arrest authority
  charged with conducting criminal investigations
                                                        of alleged violations of federal criminal statutes,
  including violations of Title 18 of the united states
                                                           code. My experience as a special Agent
  includes but is not limited to: conducting physical
                                                         surveillance; interviewing witnesses; writing

  affidavits for and executing search warrants; working
                                                             with undercover agents and informants;
 issuing administrative and federal grand jury
                                                 subpoenas; and analyzing financial records,

 telephone records, and data derived ftom the
                                                 use ofpen registers and trap and traces; and

 assisting in wiretap investigations. I have conducted
                                                           or participated in investigations of subjects

 alleged to have violated 18 u.s.c. g z4z,Deprivation
                                                            of Rights under color of Law, and 1g
 u.s.c. g 1512, witness Tampering and obstruction of Justice.

        3'      This affidavit is intended to showmerely that there
                                                                         is sufficient probable cause
 for the requested warrant and dses not set forth all
                                                        of my knowledge about this matter.
        4'      Based on my training and experience and the facts
                                                                        as set f,orth in this affidavit,

there is probable cause to berieve that evidence
                                                   of viorations of rg u.s.c, ss z42,zso,

Deprivation of Rights Under color of Law and lg
                                                        u.s.c. g l512(bx3), witness Tampering, and
l8 U's'C' $ 1512(c)(1), o-bstruction of Justice have been committed
                                                                           by Michael Andrew
Martinez There is also probable cause to search the information
                                                                       described in Attachment A for
evidence, instrumentalities, and/or fruits of these crimes
                                                              further described in Attaehment B.

                                         JURISDICTION
       5'      This court has jurisdiotion to issue the requested warant
                                                                              because it is ..a court of

competentjurisdiction" as defined by 18 u.s.c. 271l.
                                              $      lg u.s.c. gg 2703(a), (bxrxA),                &
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   (cX1XA)' Specifically, the court is "a district
                                                      court of the united states . . . that has jurisdiction

   overthe offense being investigated.,, 1g U.S.C
                                                      . $27ll(3XAXi).

                                            PROBABLE CAUSE

             6'      on or about September l5,2o23,the FBI received
                                                                               infornration that Michael
  Andrew Martinez ("Martinez'), while serving in
                                                        his eapacity as a deputy with the Dofia Ana

  sherifPs office ("DASo'), had sexually assaulted
                                                           an adult female in oustody (hereinafter

  "victim') on April 3o,zaz3,thereby depriving the Victim
                                                                       of her civil rights. The FBI atso
  received information that in the hours or days
                                                    following the sexual assault, Martinez affempted
  to destroy evidence of the sexual assault, thereby
                                                        obstruoting justice. It was determined that
                                                                                                           the
 criminal conduct occurred in Las cruces, New
                                                     Mexico, within the District of New Mexico. I am

 the case agent assigned to the ongoing federal
                                                    investigation.

         7   '      The initial investigation into Martinez's sexual
                                                                          misconduct first arose from
 Martinezhimselfcalling a DAso sergeant (hereinafter
                                                                   "witness 1,) on May 2,2oz3,claiming
 that he hadjust gone into his DASO patrol vehicle
                                                         and noticed that the center console had been

 damaged and that his Gtobal Positioning System ("GPs')
                                                                     device was laying on his dashboard,
 Martinez further claimed that his patrol vehicle's
                                                      tactical radio and watchGuard DVR system
and watchGuard monitor had been destroyed.l
                                                     Based on my investigation,I know that the

watchGuard DVR system stores video footage from
                                                           cameras inside the patrol car, including, as

pertinent here, video footage from the dash-mounted
                                                           camera and the rear seat camera. After




I I conducted
                 an online search of the watchGuard DVR system
                                                                    and learned that it is an integrated
evidence-gathering and archiving system. This system,
                                                        o-, it'.      alternative, is used by the
DASO to capture law enforcement events witi cameras       "o*parable
                                                    and record"rs soch as the Motorola solutions
4RE@ in-car video system (WatchGuard DVR system)
                                                    with      V300 body.y6n, camera.
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  receiving this call, Witness 1 responded to Martinez's
                                                           residencein Dofia Ana County to

  investigate.

          8'      Upon arriving at Martinez's residence, Witness I spoke to
                                                                               Martinez who
 reiterated his claims about noticing the damage to the interior
                                                                   of his patol vehicle and added that

 it also appeared that someone had opened and rummaged through
                                                                       his glove compartment.

 V/itness I inspected the patrol vehicle and observed that
                                                             the tactical radio, the WatchGuard DVR

 system, and the WatchGuard monitor were either damaged
                                                                or destroyed. Martine zwasordered

 to return the vehicle to the DASO, so that the recovery of stored
                                                                     data within the WatchGuard

 DVR system could be attempted and reviewed forpossible evidence
                                                                         of the alleged robbery.

         9'      The next day, May 3,2023,Witness I contacted a lieutenant
                                                                                with the DASO
 Professional standards Division (hereinafter "'Witness 2-),
                                                                who performs investigations of

 employees, due to the suspicious circumstances surrounding
                                                                 the DASO issued property that was

damaged in and missing from Maninez's patrol vehicle.
                                                             Witness I told Witness 2 that his
investigation revealed no forced entry into Martinez's patrol
                                                                 vehicle and that the only item
missing from the vehicle was Martinez's WatchGuard body
                                                                wom DVR camera. on May 11,

2023,the DASO pulled the WatchGuard DVR from Martinez's patrol
                                                                          unit, and, on Jwrc 22,
2423, sent it to watchGuard (Motorola). on August zl,zoz3,watchGuard
                                                                                sent the DASO a

thumb drive containing videos recovered from Martinez's damaged
                                                                       WatchGuard DVR.

        l0'      On August 30,2023,V/itness 2 rev,iewed the recovered videos, including
                                                                                            one

video which showed Martinez sexually assaulting Victim while
                                                                   she was in Martinez,s custody,

handcuffed and restrained with a seatbelt inside the prisoner
                                                                compartment of Martinez,s patrol

unit. Witness 2 notifiedhis ohain of command, and on August 31,2023,the
                                                                                DASo terminated
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  Martinez's employment. Approximately two weeks later,
                                                                the FBI was notified, and my federal

  investigation ensued.

          Il   '    The investigation has thus far established that on April
                                                                               30, zIz3,while on duty as
  a DASo deputy, Martinez, wearing his full uniform
                                                          and patrolling in a DASg marked patrol

  vehicle, responded to a car accident on snow Road and
                                                             Mesilla Darn Road in Dofia Ana county,

 New Mexico' Martinez approached a car that had struck atree.
                                                                         Two females stood near the car,
 one of which was the Victim, who was the registered
                                                           owner ofthe yehicle. Further investigation

 revealed the victim was the driver of the car during
                                                         the accident.

         12' After speaking with Viotim, Martinez detained Victim for Driving Under the
 Influence oflntoxicating Liquor or Drugs
                                               OIM 66-8-1024.) and Careless Driving (NM 66-3-
 114A)' Martinez handcuffed victim and placed her inside his patrol
                                                                            vehiole, a2017 chevrolet
 Tahoe, bearing New Mexico license plate G99453. Martinez
                                                                  read victim the Implied Consent

 Advisory, and she agreed to produce a breath sample. Martinez
                                                                     then transported Victim to the

DAso headquarters where he administered a breathalyzer test, which produced
                                                                                       a first sample of

0'04 and a second sample that was insufficient. Victim remained
                                                                         inside a holding cell while

Martinez completed requisite paperwork. Afterwards, Martinez placed
                                                                               Victim, who remained
handcuffed, back inside his patrol vehicle.

        13'        Martinez next transported Victim to the Mountain View Medical
                                                                                       Center in Las

Crucas, New Mexico, to obtain a medical clearance. Once said
                                                                    medical clearance was obtained,

Martinez put Victim, who was still handcuffed with her hands restrained
                                                                                behind her back, back

into his patrol vehicle. Martinez then secured Victim's seatbelt, further
                                                                               restaining her, before
sexually assaulting Victim' After sexually assaulting Victim, Martinez
                                                                              transported her to the

Dofia Ana county Detention center and booked her into the facility.
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           14'    As part of my investigation, I obtained and reviewed
                                                                            videos recovered from
  Martinez's patrol vehicle's watchGuard DvR. The
                                                            following is a summary ofthe video footage
  capturing Martinez's sexual assault of victim.
                                                       The video footage begins with a banner that

  reads, "Dep'Michael Martinez 04-30-2023
                                                @o335Hrs. Backse at.mp4.,, The video footage next
  captures victim seated and seat-belted in the
                                                  caged prisoner compartunent of Martinez,s patrol

  vehicle' victim is wearing a light-colored hoodie
                                                         and shorts and her hands are behind her back,

  apparently handcuffed
                          ' Martinezand victim engage in casual conversation during the transport.
 After approximately l5 minutes of recorded video footage,
                                                                  Martinez stops his patrol vehicle
 (based on my investigation, I know Martinez
                                                  stopped at the Mountain view Medical center),

 opens the rear passenger side door, and releases
                                                      victimts seatbelt. Victim gets out of the vehicle
 and Martinez shuts the door. A little over two hours
                                                           later, video footage captures Martinez,s
 patrol vehicle's rear passenger side door reopen,
                                                       and victim gets back inside the oaged prisoner

 compartment. victim's hands are still behind her baek,
                                                              apparently handcuffed.

         15'     video footage then captures Martinez ask victim if she is
                                                                               ok and she appears to
 respond, 'oYes, Sir," as Martinez places his right
                                                      hand on Victim,s upper right thigh. Martinez

then places his left hand briefly on the inside of
                                                      victim's upper right thigh area. seconds later,
Martinez fastens victim's seatbelt-further restraining
                                                             her-and places his hand again on her
upper right thigh between her legs for a moment.
                                                       Martinez then moves Victim,s thighs apart

and places his hand on or near her vagina. victim
                                                        appears minimally responsive and stares at

Martinez as Martinez proceeds to squeeze Victim's upper
                                                               right thigh. Martinez continues his

sexual assault of victim, placing his right hand apparently
                                                                up and inside victim,s shorts on,

near, or penetrating Victim's vagina. Martinez then
                                                         three times moves his hand in a continuous

rubbing motion while it is inside victim's shorts and on,
                                                              near, or penetrating her vagina, before
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     pulling his hand back and squeezing her upper right thigh
                                                                    another time. Not finished sexually

     assaulting victim, Martinez moves the seatbelt positioned
                                                                    across Victim,s chest and squ€ezes

     her left breast (over her hoodie), before unzipping her hoodie,
                                                                        placing his right hand inside

     Victim's hoodie, and rubbing and squeezing Victim's left breast
                                                                           for several seconds. After
    groping Victim's breast, Martinez steps away from
                                                            Victim and shuts the patrol vehicle door.
    Victim then appears to look up at the vehicle's backset camera
                                                                         seyeral times.

            16'     Following my review of this video, I interviewed Victim who
                                                                                          corroborated that
    onApril 30,z}z3,Martinez arrested her for driving while intoxicated and,
                                                                                     after arresting and

    transporting her, sexually assaulted her while she was in his
                                                                      custody.2 victim also reported that

    following the sexual assault, Martinez, on at least two oscasions?
                                                                           on May 2,2023,and May 6,
    2023, calledher cellphone. Victim recorded these calls and saved
                                                                            the recordings. Victim

    provided me with the recsrdings, which I reviewed.

           17   '   The following is a summary of the recorded call which Victim
                                                                                          reported receiving
    on May 2,2023: The caller, calling from a blocked number,
                                                                     identifies himself as ..Michael.',

 When Victim says, "Who is Michael?" the caller responds,
                                                                    "We met the other day.,, Victim

                                                                     responds, *I went by your work,
again says that she does not know who is calling. The caller

but you're not there." victim asks how the caller knows where she
                                                                             works and he simply replies,

'You work at the weed shop.' Victim tells the callerthat she is not good with names
                                                                                                 and is

"soncemed." The caller responds that he works for the
                                                               "SherifPs Department.,, Victim asks if
the caller is callingjust for fun, and he says that he is calling to see
                                                                            what she is doing and to tell



2
    This is a brief summary of the information I learned from victim related to
                                                                               why probable cause exists to
search Martinez's Apple iPhone accounts. I have not included
                                                                 all the information I learned from Victim
during this interview.
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  her that the charges will be dismissed. Victim asks the
                                                            caller if he is trying to hang out and he

 tells her to call him when she is alone. Victim says she can
                                                                 be alone later if he wants to hang out

 and they talk about timing. The caller then asks Victim
                                                            step outside and asks her whether

 anyone can hear him. She tells him that no one can hear him,
                                                                    and he again tells her that the

 charges will be dismissed. The caller then asks Victim what
                                                                   she is thinking about, and she

 responds, "I'm thinking how you did that." The caller responds, o.Oh,
                                                                            I,m just gonna dismiss

 that." Victim asks whether he can just do that, and he responds he can.
                                                                              Victim asks, ,.Oh,
 you're above the law?" The caller says he is not and changes
                                                                   the topic to asking Victim what

 she said she is wearing. The call ends with Martinez telling
                                                                Victim, '.Just don,t tell anybody,,,
 and to just go to court, do what they say, and the charges will
                                                                   be dismissed in 30 days.

         18.      The following is a summary of the recorded call which Victim reported

receiving on May 6, 2023: The caller, again calling froni a blocked number,
                                                                                  identifies himself as
o'Martinez."
               Victim asks the caller to repeat himself and the caller responds, ..Martinez, who,s

this? Victim replies, "XIho is this?,, and the call ends.

        19.      Frightened that Martinez kept calling her from blocked numbers,
                                                                                       Victim set her
phone to not accept calls from private numbers. Victim has
                                                                not spoken to or seen Martinez since

May 6,2023.

        20. In addition to feeling unsafe due to the repeated calls from blocked numbers,
Victim also felt harassed and unsafe due to the caller's statement that he went to her
                                                                                          workplace.
Victim reported that following the sexual assault and Martinez's calls, she stopped working
                                                                                                    at

herplace of employment, which she told me was Monster House on Solano Drive and
                                                                                            stopped

sleeping at her residence.
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            2l'     In addition to obtaining and reviewing the recovered footage of Matinez
                                                                                                    sexually
     assaulting Victim, during my investigation I also obtained
                                                                  and reviewed additional recovered

     footage from Martinez's patrol vehicle's WatchGuard DVR
                                                                     System. The recovered footage was

    dated April 3a,2023,and at the times listed on the footage,
                                                                     Martinez was offduty. In the

    footage, Ioud crashing sounds can be heard, and Martinez can be
                                                                          observed walking back and

    forth several times from his residence to his patrol vehicle. The last
                                                                             video, recorded at 9:51 p.m.

    that evening, shows a black screen and audio. This could indicate
                                                                           the WatchGuard DVR System

    was in the process of being damaged while the final video was
                                                                       being recorded. Based on my

    investigation, I believe this video shows Martinez attempting to damage
                                                                                 the WatchGuard DVR

    System in his patrol vehicle, to conceal his sexual assault of
                                                                     Viotim earlier that day,

           22'     In addition to reviewing this additional recovered footage, I interviewed
                                                                                                a

    sergeant fromthe New Mexico State Police ("I{MSP") (hereinafter'.Witness
                                                                                      4,,), who told me
    that in reviewing the recovered footage of Martinez sexually assaulting
                                                                                Vietim, he observed
    Martinez wearing his DASO issued body wom DVR camera.3 witness
                                                                               4 opined that Martinez

may have purposely unplugged the camera lens attachment on
                                                                      his body worn camera during the

sexual assault of Victim with the intent to prevent the body worn
                                                                         camera from properly

functioning. I then spoke with another DASO officer (hereinafter.'Witress
                                                                                    5,,) who explained

that the DASo body worn DVR camera must be activated with
                                                                       a push of a button to funotion.

He added that the body worn DVR camera has a lens attachment
                                                                        which, when connected and

activated, allows for a recording to take place. Witness 5 reviewed the
                                                                               video of Martinez




3
 This is a different camera than the WatchGuard DVR system that was in
                                                                       Martinez,s marked patrol
vehicle.
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  sexually assaulting Victim and stated that he believed Martinez's
                                                                         body wom camera was on

  during the assault because he observed a green ligbt on the
                                                                 camera. witness 5, however, pointed

  out that the red flashing light feature on the camera indicated
                                                                    that while the device was turned

  on, it was not recording because the camera lens attaehment
                                                                    was detached. Witness 5 opined

 that Martinez intentionally disconnected the lens attachment of
                                                                      his body worn camera so that the

 body wom oamera would not funotion properly and thus would
                                                                      not record the sexual assault.

         23'     on Sepember 19, zo23,United States Magistrate Judge Damian L. Martinez

 issued both a federal arrest warrant for Martinez and a federal
                                                                     search warrant for Martinez,s

 cellular phone. (See Case Numb er 23-lll7MR-search
                                                          warrant; Case Numb er 23-l430M1-arrest

 wanant).

        24'     Martinez was arrested by the FBI and other Iaw enforcement
                                                                                  without incident at
 the DASo headquarters. During Martinez's arrest, an Apple
                                                                 iPhone was looated on his person

 and seized pursuant to the search warrant. In addition, during
                                                                    Martinez,s arrest, I spoke with

Martinez and asked him questions uruelated to the investigation.
                                                                       After hearing his voiee, I
confirmed that he was the caller of the phone calls placed to
                                                                victim from blocked numbers.
        25'    Pursuant to the terms of the issued federal search warrant
                                                                              for Martinez,s cellular
phone, after locating and seizing Martinez's Apple
                                                      iPhone, I used the iphone,s facial recognition

feature to open the iPhone so that the FBI could later perfonn
                                                                 a digital forensic extraotion of the

phone's contents,

       26'     Within days of seizure, the FBI CART (Computer Analysis Response
                                                                                          Team)
conducted a forensic extraction of Martinez's iPhone. FBI SA
                                                                    Sean Macmanus, who is assigned

to the FBI's Cellular Analysis Survey Team (CAST), sent two preservation
                                                                                letters to Apple on

September 22,2023, for the ACCOUNTS.

                                                 10
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          27.    On October 19,2023,I reviewed portions of the forensic extraction of
                                                                                            Martinez,s

 Apple iPhone. During my review, I saw that on May 7,2023,one day after MarJinez
                                                                                            cletained

 and sexually assaulted Victim, the user of the Apple iPhone conducted a
                                                                            web search for

 "Monster House Dispensary." I recognized'Monster House" as the place where
                                                                                       Victim told me
 she worked before the sexual assault. I also recalled hearing on the recorded
                                                                                 call, which Victim

 reported receiving on May 2,2A23,the caller telling Victim that he went to
                                                                               her work but that she

 was not there and that he knew she worked at the weed shop. I eonducted
                                                                              a web search,of

 Monster House Dispensary and verified that IVIonster House Dispensary is located
                                                                                        on Solano

 Drive in Las Cruces, New Mexico.

          28. During my review, I also found that on May z,z023,at 3:19 p.m., Martinez,s
extraction timeline listed a phone number that I know is assigned to Victim,s
                                                                                 cellular phone.

This finding corroborated Victim's statement to me that Martinez contacted Viotim
                                                                                         via a

blockedphone number on May 2,ZOZ3.

       29. I then served a federal grandjury subpoenato Verizon for tolls records from the
phone number associated with Martinez2s Apple iPhone. After receiving
                                                                            and reviewing the

results, I saw that the toll records corroborated Victim's account. Specifioally, I
                                                                                      observed that

on May 2,2023, the phone number associated with Maninez's Apple iPhone called
                                                                                         Victim?s

phone twice, once at 3:42p.m. and once at3:44p.m. On both calls, the user
                                                                               dialed *67 to hide

theirphonenumber. On May 6,2023,the phone nurnber associated with Martinez,s Apple

iPhone again called Victim's phone at 10:07 p.m. Again, the user dialed *67 ts hide
                                                                                          their phone

number.

       30. In addition, in reviewing the forensio extraction of Martinez's Apple iphone, I
also uncovered records revealing that the user of the iPhone conducted a web search on May
                                                                                                  4,

                                                11
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  2023, at l:44 a.m. for

  9/section-30-9-12' I conducted a web search of this uebsite
                                                                   and found that it corresponds to the

  2018 New Mexico Criminal Laws. specifically,
                                                      the site is for the New Mexico sexual offenses/

  criminal Sexual conduct. This search was conducted approximately
                                                                             four days after Martinez,s
  sexual assault of the victim and approximately two
                                                        days after Martinez falsely reported that his

  DASO issued body rvorn camera was missing and that
                                                           an unknown person had damaged his

 DASO patrol vehicle,s WatchGuard DVR system.

         3l '    Based on my training, experience, and investigation
                                                                          to date, I believe Martinez.

 while on duty for the DASo, sexually assaulted victim while
                                                                    she was in his custody, handcuffed

 and restrained with a seatbelt inside the prisoner compartment
                                                                    of Martinez,s patrol unit, thereby
 depriving the victim of her civil rights. I also believe that
                                                                 after sexually assaulting victim,

 Martinez attempted to destroy evidence of the sexual assault
                                                                  by falsely reporting that someone

 had slolen his DASO issued body worn camera and
                                                       destroyed his DASg patrol vehicle

 WatchGuard DVR system, when Martinez knew that he
                                                           himself had tampered with his

WatchGuard DVR system.

        32'     I further believe that Martinez used his Apple iPhone in furtherance
                                                                                         of the crimes
he committed to find and stalk victim. As the forensic
                                                          extraction of Martinez,s Apple iphone

and toll records reveal, Martinez used his Apple iPhone
                                                           to call Victim multiple times, on

different days, from a btocked number; to search for victim's
                                                                   work location; and to obtain

infbrmation about the New Mexico state laws goveming sexual
                                                                     assaults, in an apparent attempt

to edi$ himself on the potential criminal charges he could face
                                                                    forthe crimes committed.
       33'      Based on my training and experience, I also believe that
                                                                            Apple maintains the
described evidence and other records that may have not been
                                                                  recovered during the forensic

                                                 12
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    extraction of the Apple iPhone, which could be due to Martinez's efforts to delete thern. This is

    particularly a concem as my investigation has already revealed that Martinez attempted to

    destroy other evidence of his sexual misconduct.




           34. Apple is a United States company that produces the iPhone, iPad, and ipod
Touch, all of which use the iOS operating system, and desktop and laptop computers based on

the Mac OS operating system.

           35. Apple provides a variety of services that can be accessed from Apple devices or.
in some cases, other devices via web browsers or mobile and desktop applications ("apps"). As

described in further detail below, the services include email, instant messaging, and file storage:

                  a.      Apple provides email service to its users through email addresses at the

domain names mac.com, me.com, and icloud.com.

                  b.      iMessage and FaceTime allow users of Apple devices to communicate in

real-time. iMessage enables users of Apple devices to exchange instant messages ("iMessages,')

containing text, photos, videos, locations, and contacts, while FaceTime enables those users to

conduct audio and video calls.




a
 The information in this section is based on information published by Apple on its website, including. but
not lirnited to. thc following document and webpages: "U.S. Law Enforcement Legal Process
Cuidelines," available at https://rwvw.apple.com/legaVprivacy/law-enforcement-guidelines-us.pdfl
"Manage and use your Apple ID," available at https://support.apple.com/en-us/HT203993; "iCloud,"
available at http://www.apple.com/icloud/; "Introduction to icloud," available at
https://support.apple.com/kb/PH26502; "What does iCloud back up?," available at
httos://support.apple.com/kb/PHl25l9; and "Apple Platform Securit;/," available at
hups://help.apple.csm/pdf/security/en-USiapple-platform-securiqv-guide.pdf.

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                  c'     iCloud is a cloud storage and cloud computing service from
                                                                                         Apple that
  allows its users to interact with Apple's servers to utilize iCloud-connected
                                                                                  services to create,

 store, access, share, and synchronize dataon Apple devices
                                                                or via icloud.com on any Internet-

 connected device. For example, iCloud Mail enables a user
                                                                to access Apple-provided email

 accounts on multiple Apple devices and on iCloud.com.
                                                            iCloud photo Library and My photo

 Stream can be used to store and manage images and videos
                                                               taken from Apple devices, and

 iCloud Photo Sharing allows the user to share those images and
                                                                   videos with other Apple

 subscribers' iCloud Drive can be used to store presentations, spreadsheets,
                                                                                  and other doeuments.

 icloud Tabs and bookmarks enable iCloud to be usedto synchronize
                                                                         bookrnarks and webpages

 opened in the Safari web browsers on all ofthe user's Apple
                                                                devices. iCloud Backup allows

users to create a backup of their device data. iWork Apps,
                                                              a suite of productivity apps (pages,

Numbers, Keynote, and Notes), enables iCloud to be used to
                                                                create, store, and share documents,

spreadsheets, and presentations. iCloud Keychain enables
                                                             a user to keep website username and

passwords, credit card information, and wi.Fi network
                                                          infonnation synchronized across multiple
Apple devices.

                 d.    Game Center, Apple's social Bamingnetwork, allows users of
                                                                                          Apple
devices to play and share games with each other.

                 e'    Find My allows owners ofApple devices to remotely identift and track

the location of, display a message on, and wipe the contents of iOS
                                                                      devices, as well as share their

location with other ioS users. It atso allows owners of Apple devices
                                                                        to manage, interact with,
and locate AirTags, which are tracking devices sold by Apple.




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               f,      Location Services allows apps and websites to use information from

cellular, Wi-Fi, Global Positioning System (*GPS") networks, and Bluetooth, to determine a

user's approximate location.

               g.      App Store and iTunes Store are used to purchase and download digital

content. iOS apps can be purchased and downloaded throt'gh App Store on iOS devices, or

through iTunes Store on desktop and laptop computers running either Microsoft Windows or

Mac OS. Additional digital content, including music, movies, and television shows, can be

purchased through iTunes Store on iOS devices and on desktop and laptop computers running

either Microsoft Windows or Mac OS.

       36. Apple services are accessed through the use of an "Apple ID," an account created
during the setup of an Apple device or through the iTunes or iCloud services. The account

identifier for an Apple ID is an email address, provided by the user. Users can submit an Apple-

provided email address (often ending in @icloud.com, @me.com, or
                                                                     @mac.com) or an email

address associated with a third-party email provider (such as Gmail, Yahoo, or Hotmail). The

Apple ID can be used to access most Apple services (including iCloud, iMessage, and FaceTime)

only after the user accesses and responds to a'terification email" sent by Apple to that

"primary" email address. Additional email addresses ('alternate," "rescue," and "notification"

email addresses) can also be associated with an Apple ID by the user. A single Apple ID can be

linked to multiple Apple services and devices, serving as a central authentication and syncing

mechanism.

       37. Apple captures infomration associated with the creation and use of an Apple ID.
During the creation of an Apple ID, the user must provide basic personal information including

the user's full name, physical address, and telephone numbers. The user may also provide means

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 of payment for products offered by Apple. The subscriber information and password
                                                                                             associated

 with an Apple ID can be changed by the user through the "My Apple ID', and ..iForgot,, pages
                                                                                                        on

 Apple's website. In addition, Apple captures the date on which the account was
                                                                                      created, the

 length of servioe, records of log-in times and durations, the types of service utilized,
                                                                                            the status of

 the account (including whether the account is inactive or closed), the methods
                                                                                   used to connect to

 and utilize the accoun! the tntemet Protocol address ('IP address") used
                                                                             to register and access

 the account, and other log files that reflect usage ofthe account.

        38. Additional information is captured by Apple in connection with the use of an
Apple ID to access certain services. For example, Apple maintains connection logs with
                                                                                                Ip
addresses that reflect a user's sign-on activity for Apple services such
                                                                           as iTunes Store and App

Storq iCloud, Game Center, and the My Apple ID and iForgot pages on Apple,s we'bsite.
                                                                                                 Apple
also maintains records reflecting a user's app purchases from App Store and iTunes
                                                                                        Store, ..call

invitation logs" for FaceTime calls, "oapability query logs" for iMessage, and .,mail logs',
                                                                                                 for
activity over an Apple-provided email account. Records relating to the use of the .,Find
                                                                                               My,,
service, including connection Iogs and requests to remotely find, lock, or erase a device,
                                                                                               are also

maintained by Apple.

       39- Apple also maintains information about the devices associated with an Apple ID.
When a user activates or upgrades an iOS device, Apple captures and retains the user,s Ip

address and identifiers such as the Integrated Circuit Card tD number (*ICCID,), which
                                                                                              is the

serial number of the device's SIM card. Similarly, the telephone number of a user,s iphone is

linked to an Apple ID when the user signs into FaceTime or iMessage. Apple also may maintain

records of other devjce identifiers, including the Media Access Contuol address (..MAC

address"), the unique device identifier ("UDID"), and the serial number. In addition,

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 information about a user's computer is captured when iTunes is used on that computer to play

 content associated with an Apple ID, and information about a user's web browser may be

 captured when used to access services through icloud.com and apple.com. Apple also retains

 records related to communications between wers and Apple customer service, including

 communications regarding a particular Apple device or service, and the:repair history for a

 device.

           40. Apple provides users with five gigabytes of free electronic space on iCloud, and
 users can purchase additional storage space. That storage space, located on servers controlled by

Apple, may contain data associated with the use of iCloud-connected services, including: email

(iCloud Mail); images and videos (iCloud Photo Library, My Photo Stream, and iCloud photo

Sharing); documents, spreadsheets, presentations, and other files (iWork and iCloud Drive); and

web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain).

iCloud can also be used to stor€ iOS device backups, which can contain a user,s photos and

videos, iMessages, Short Message Service ('tSMS') and Multimedia Messaging Service

('MMS") messages, voicemail messages, call history, contacts, calendar events, reminders,

notes, app data and settings, Apple Watch backups, and other data. Some of this data is stored

on Apple's servers in an encrypted form but may nonetheless be decrypted by Apple. Records

and data associated with third-party apps, including the instant messaging service WhatsApp,

may also be stored on iCloud.

           41. In federal investigations of civil rights and color of law violations, I know that
subjects often attempt to cover up their crimes by destroying evidence and convincing witnesses

to not report incidents to law enforcement. Among other evidence, I believe that Apple may

possess evidence indicative of Martinezrs location when he attempted to find Victim at her place

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 of employment to tell her that the charges against her would be dismissed. t believe that

 Martinez did this to ease the Victim's concerns about her pending criminal charges in exchange

 for an agreement to not reveal hjs sexual assault of her. I also believe that Apple may possess

 evidence of additional sexual misconduct committed by Martinez, In my training and

 experience, evidence of who was using an Apple ID and from where, and evidence related to

criminal activity of the kind described above, may be found in the files and records described

above. This evidence may establish t}te "who, what, why, when, where, and hod'of the

criminal conduct under investigation, thus enabling the United States to establish and prove each

element or, alternatively, to exclude the irurocent from further suspicion.

        42. Based on my review of toll records, the recorded phone calls to Victim, and my
review of the forensic extracfion of Martinez's Apple iPhone, Martinez, on more than one day

and in more than one way, used his Apple iPhone to find and speak with Victim after sexually

assaulting her. Data and records further evidencing Martinez?s attempts to find and talk to

Victim in the days after the sexual assault may be maintained by Apple in the iCloud, as most

Apple iPhone users save various types of information in their iCloud accounts. There may also

be additional infonnation about other attempts by Martinez, in the days, weeks, and months after

the sexual assault, to contact Victim that both the Victim (due to, among things, blocking her

phone from accepting calls from private numbers) and law enforcement are unaware of. For

example, the stored communications and files connected to Martinez's Apple ID/iCloud accounts

may provide direct evidence of the offenses under investigation. Based on my training and

experience, instant messages, emails, voicemails, photos, videos, and documents are often

created and used in furtherance of criminal activity, including to communicate and facilitate the

offenses under investigation.

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         43. In addition, the user's account activity, logs, stored electronic communications,
 and other data retained by Apple can indioate who has used or controlled the account. This ..user

 attribution" evidence is analogous to the search for "indicia of occupancy', while executing a

 search warrant at a residence. For example, subscriber inforn-ration, email and messaging logs,

 doouments, and photos and videos (and the data associated with the foregoing, such as geo-

 looation, date, and time) may be evidence of who used or controlled the account at arelevant

time. As an example, because every device has unique hardware and soffware identifiers, and

because every device that connects to the Internet must use an IP address, IP address and device

identifier inforrration can help to identi$ which computers or other devices were used to access

tle account. Such information also allows investigators to understand the geographic and

chronologioal context of access, use, and events relating to the crime under investigation.

        44. Account activity may also provide relevant insight into the account owner's state
of mind as it relates to the offenses under investigation. For example, information on the account

rnay indicate the owner's motive and intent to commit acrime (e.g., information indicating a

plan to commit a crime), or consciousness of guilt (e.g,, deleting account inforrration in
                                                                                             an effort

to conceal evidence from law enforcement).

        45. Other information connected to an Apple ID may lead to the discovery of
additional evidence. For example, the identification of apps downloaded from App Store and

iTunes Store may reveal services used in furtherance of the orimes under investigation. In

addition, emails, instant messages, Internet activity, documents, and contact and calendar

information can lead to the identification of co-conspirators and instumentalities of the crimes

urder investigation.



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        46. As described above, my investigation concerns the sexual assault, committed
under color of law, of a female victim who was in the perpehator's custody at the time of the

assault and the perpetrator's attempted destruction of evidence and witness tampering after the

commission of the crime. During a search of the forensic exhaction of Martinez's Apple iphone,

I found evidence that Martinezhad used his iPhone to call the victim ofthe sexual assault

multiple times, on diflerent days, from a blocked number; to search for the victim's work

location; and to obtain information about the New Mexico state laws governing sexual assaults,

in an apparent attempt to edify himself on the potential criminal oharges he could faoe for the

crimes committed. Therefore, Apple's servers are likely to contain stored electronic

communications and information conceming subscribers artd their use of Apple's services. ln

my training and experience, such information may constitute evidence of the crimes under

investigation including information that can be used to identiff the account's user.




                                        [See next page...]




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                                         CONCLUSION

        47.    Based on the foregoing, I request that the court issue the proposed
                                                                                      search

wiuTant.

       48'     Pursuant to 18 U.S.C- $ 2703(9), the presence of a law enforcement
                                                                                       officer is not
required for the service or execution of this warrant. The government
                                                                         will execute this warrant
by serving the warrant on Apple. Because thc warrant will be served
                                                                         on Apple, who will then

compile the requested records at a time convenient to it, reasonable
                                                                       cause exists to permit the

execution of the requested warrant at any time in the day or night.


                                                   Respectfully submitted,



                                                   Armida Maria'Macmanus
                                                   Special Agent
                                                   Federal Bureau of Investigation



     swom telenhonically. signed remotely, and transmitted by email on
 October 25,2023                )o)2,


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      {.,NITED STATES MAGISTRATE JUDCE




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